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B 10 (Supplement 2) (12/11)


                                  UNITED STATES BANKRUPTCY COURT
                                                Southern        District of       Texas


                                                                                                           14-30620-H4-13
                                                                                                  Case No. _______________________
                           ERICA RACHELLE RICHARDSON
                    In re ___________________________________,
                        Debtor                                                                    Chapter 13




If you hold a claim secured by a security interest in the debtor's principal residence, you must use this form to give notice of any
postpetition fees, expenses, and charges that you assert are recoverable against the debtor or against the debtor's principal
residence. File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.
                       JPMORGAN CHASE BANK, NATIONAL ASSOCIATION

Name of creditor:                                                                 Court claim no. (if known):      9



Last four digits of any number you use to
identify the debtor’s account:                  9     0     3     6


Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?
    X   No
        Yes. Date of the last notice: ____ ____ _______




Part 1: Itemize Postpetition Fees, Expenses, and Charges
 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.


     Description                                                      Dates incurred                                          Amount

 1. Late charges                                                                                                          (1) $

 2. Non-sufficient funds (NSF) fees                                                                                       (2) $

 3. Attorney fees                                                     6/5/2014                                            (3) $        350.00

 4. Filing fees and court costs                                                                                           (4) $
 5. Bankruptcy/Proof of claim fees                                    6/12/2014                                           (5) $        300.00

 6. Appraisal/Broker’s price opinion fees                                                                                 (6) $

 7. Property inspection fees                                                                                              (7) $

 8. Tax advances (non-escrow)                                                                                             (8) $
 9. Insurance advances (non-escrow)                                                                                       (9) $

10. Property preservation expenses. Specify:                                                                             (10) $

11. Other. Specify:                                                                                                      (11) $
12. Other. Specify:                                                                                                      (12) $
13. Other. Specify:                                                                                                      (13) $
14. Other. Specify:                                                                                                      (14) $


The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11
U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.




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Part 2: Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number if different from the notice address listed on the proof of claim to which this Supplement applies.

 Check the appropriate box.

     I am the creditor
     I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
 information, and reasonable belief.


      /s/ KADRA ALEXANDER                                                                      0 7 / ____
                                                                                         Date ____    1 4 / ______
                                                                                                             2014
     Signature



  Print:         KADRA                               ALEXANDER                           Title ATTORNEY FOR CLAIMANT
                 First Name        Middle Name             Last Name



 Company         BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP


 Address         15000 SURVEYOR BLVD. SUITE 100
                 Number            Street
                 ADDISON, TEXAS 75001
                 City                              State               ZIP Code


  Contact phone (______
                  9 7 2 ) _____
                           3 8 6 - _________
                                   5040                                             Email   SDECF@BDFGROUP.COM




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         Borrower may receive upon written request:
            A copy of the payment history from when the loan was 60 days delinquent to present
            A copy of the note or lost note affidavit, if applicable
            The name of the investor that holds the loan
            If we have started foreclosure or filed a Proof of Claim, copies of any assignments of
            mortgage or deed of trust, which is where a lender assigns the rights of a mortgage and
            deed to another lender

 Please mail a written request to the address below detailing the specific information you want to
 receive:

 Chase
 ATTN: Correspondence Mail
 MAIL CODE LA4-5555
 700 KANSAS LANE
 MONROE, LA 71203




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                                        CERTIFICATE OF SERVICE


          I hereby certify that on July 14, 2014, a true and correct copy of the Notice of Post Petition

    Mortgage Fees, Expenses and Charges was served via electronic means as listed on the Court's ECF

    noticing system or by regular first class mail to the parties listed on the attached list.

                                               Respectfully submitted,

                                               BARRETT DAFFIN FRAPPIER
                                               TURNER & ENGEL, LLP


                                                BY: /s/ KADRA ALEXANDER                             07/14/2014
                                                    KADRA ALEXANDER
                                                    TX NO. 24040405
                                                    15000 SURVEYOR BLVD. SUITE 100
                                                    ADDISON, TX 75001
                                                    Telephone: (972) 386-5040
                                                    Facsimile: (972) 661-7725
                                                    E-mail: SDECF@BDFGROUP.COM
                                                    ATTORNEY FOR CLAIMANT

    BY ELECTRONIC NOTICE OR REGULAR FIRST CLASS MAIL:

    DEBTOR:
    ERICA RACHELLE RICHARDSON
    12206 PREAKNESS WAY
    HOUSTON, TX 77071

    DEBTOR'S ATTORNEY:
    KENNETH A KEELING
    3310 KATY FREEWAY
    STE 200
    HOUSTON, TX 77007

   TRUSTEE:
   DAVID G. PEAKE
   9660 HILLCROFT, SUITE 430
   HOUSTON, TX 77096




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